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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------- X
                                                               :
                    In the Matter                              :   Chapter 7
                                                               :   Case No. 21-10699 (DSJ)
                          -of-                                 :
                                                               :
KOSSOFF PLLC,                                                  :
                                                               :
                                                               :
                                            Debtor.            :
                                                               :
-------------------------------------------------------------- X

          CHAPTER 7 INTERIM TRUSTEE’S MOTION FOR AN ORDER
        COMPELLING JPMORGAN CHASE BANK, N.A. TO COMPLY WITH
      BANKRUPTCY RULE 2004 ORDER AND ITS TURNOVER OBLIGATIONS
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TO THE HONORABLE DAVID S. JONES,
UNITED STATES BANKRUPTCY JUDGE:

               Albert Togut, not individually, but solely in his capacity as the Chapter 7

Interim Trustee (the “Trustee”) of Kossoff PLLC (the “Debtor”) in the above-captioned

case, by and through his attorneys, Togut, Segal & Segal LLP (the “Togut Firm”),

respectfully submits this application (the “Motion”) for entry of an order, substantially

in the form attached hereto as Exhibit “A” (the “Proposed Order”), pursuant to section

105(a) of title 11 of the United States Code (the “Bankruptcy Code”) and Rules 2004 and

9016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”):

(i) compelling JPMorgan Chase Bank, N.A. (“JPMC”) to comply with this Court’s Order

Authorizing Trustee to Issue Subpoenas and Obtain Testimony and for Injunctive Relief

[Docket No. 27] (the “Rule 2004 Order”), the Subpoena (as that term is defined below),

and its turnover obligations under the Bankruptcy Code by (a) producing documents

and information sufficient to disclose all of the website access credentials for the

Debtor’s Bank Accounts (as that term is defined below) for which JPMC is or was the

banking depository for the Debtor, (b) granting the Trustee website access to the Bank

Accounts, (c) producing to the Trustee all documents and information that are

responsive to the Subpoena not yet produced, (d) producing to the Trustee request-

by-request responses to the Subpoena as required by the Rule 2004 Order, and (e)

preparing a declaration pursuant to 28 U.S.C. § 1746 as required by the Rule 2004

Order; and (ii) in the event that JPMC fails to fully comply with the Proposed Order,

authorizing the Trustee to submit a proposed order to show cause scheduling a hearing

to consider entry of a further order holding JPMC in civil contempt and imposing

coercive civil sanctions. In support of the Motion, the Trustee submits the Declaration

of Neil Berger of the Togut Firm, attached hereto as Exhibit “B” (the “Berger
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Declaration”), and the Declaration of Stephen Gray, of Gray & Company, LLC, the

Trustee’s financial advisor herein (the “Gray Declaration”), attached hereto as Exhibit

“C,” and respectfully represents:

                             PRELIMINARY STATEMENT

               Since his appointment, the Trustee has undertaken the critically important

work of trying to resolve the affairs of the Debtor’s estate. This effort has been impeded

by the improper demands of Mitchell H. Kossoff (“Kossoff”) for a grant of immunity in

exchange for his cooperation. As a result, third-party document production is essential

to the Trustee’s investigation of the Debtor’s affairs and the identification of property

that may be administered.

               Creditors have alleged that the Debtor failed to account for approximately

$17 million of client funds that were deposited into the Debtor’s bank accounts.

Discovery of JPMC is critical because it was the financial institution through which the

Debtor executed the vast majority of its financial transactions. As a result of Kossoff’s

wholesale refusal to cooperate with the Trustee’s investigation of the Debtor’s affairs,

the Trustee issued a subpoena (the “Subpoena”) to JPMC to determine the nature of the

transactions that the Debtor entered into using funds that were maintained in the Bank

Accounts, and to try to determine whether any of those transactions give rise to claims

in favor of the estate.

               However, notwithstanding service of the Subpoena to JPMC pursuant to

the Rule 2004 Order and the Trustee’s repeated demands for compliance (both written

and during meet and confer discussions with JPMC’s counsel), JPMC has failed to fully

comply with its obligations pursuant to the Subpoena, the Rule 2004 Order, and the

Bankruptcy Code. JPMC has failed to produce all of the materials in its possession that

are responsive to the Subpoena and it refuses to grant the Trustee website access to the


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Bank Accounts, the Debtor’s rights to which are property of this estate and which access

is required to identify payee and other information related to checks that is unavailable

from JPMC’s incomplete production.

               For the reasons set forth herein, the Trustee respectfully requests entry of

an order, substantially in the form of the Proposed Order compelling JPMC to fully

comply with the Rule 2004 Order.

                                       JURISDICTION

               1.       This Court has jurisdiction over this case and this Motion pursuant

to 28 U.S.C. §§ 157 and 1334. This is a core proceeding within the meaning of 28 U.S.C.

§§ 157(b)(2)(A), (E) and (O). Venue is proper in this district pursuant to 28 U.S.C. §§

1408 and 1409.

               2.       The predicates for this Motion are section 105(a) of the Bankruptcy

Code and Bankruptcy Rules 2004 and 9016.

                                 FACTUAL BACKGROUND

I.     The Debtor’s Bankruptcy Case

               3.       On April 13, 2021 (the “Petition Date”), certain creditors of the

Debtor filed an involuntary petition for relief under Chapter 7 of the Bankruptcy Code

(the “Involuntary Petition”) against the Debtor in the above-captioned case (the

“Chapter 7 Case”) [Docket No. 1].

               4.       The Debtor did not appear in response to the Involuntary Petition,

and on May 11, 2021, this Court entered the Order for Relief and Order to File Schedules

and Other Documents [Docket No. 14] (the “Order for Relief”).

               5.       The Order for Relief directs the Debtor to file “all schedules,

statements, lists and other documents that are required under the Federal and Local




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Rules of Bankruptcy Procedure” (the “Schedules”) no later than May 25, 2021 [Docket

No. 14].

               6.       On May 12, 2021, Mr. Togut was appointed as the Chapter 7

Interim Trustee of the Debtor, accepted his appointment, and duly qualified.

               7.       The Debtor has not yet filed any of the Schedules, and Kossoff has

failed to do so or to otherwise cooperate with the Trustee notwithstanding entry of

orders requiring him to do so [Docket Nos. 93, 137]. See Berger Decl. at ¶ 5.

II.    The Trustee’s Rule 2004 Motions and Related Orders

               8.       On May 24, 2021, the Trustee filed the Chapter 7 Interim Trustee’s Ex

Parte Application for an Order (I) Directing the Preservation of Documents and Recorded

Information and (II) Authorizing the Issuance of Subpoenas for the Production of Documents

and Depositions Testimony Pursuant to Rule 2004 of the Federal Rules of Bankruptcy

Procedure [Docket No. 26] (the “Rule 2004 Motion”).

               9.       On May 24, 2021, the Court entered the Rule 2004 Order, which

authorized, inter alia, the Trustee “to issue subpoenas for the production of all books,

records and documents . . . related to the Debtor or its property concerning or otherwise

evidencing the Debtor’s assets and financial affairs . . . .” [Docket No. 27].

               10.      On May 26, 2021, counsel for the Debtor, Kossoff, and Kossoff’s

affiliated entity Tenantracers, LLC filed an opposition to the Rule 2004 Motion,

asserting that “Mr. Kossoff intends to invoke his Fifth Amendment privilege against

self-incrimination and will refuse to answer questions that may tend to incriminate

him.” See Docket No. 30 at p. 2. He also asserted that “Mr. Kossoff alone would be the

only person to properly identify, collect, describe and submit documents to the

Bankruptcy Court or its Trustee.” Id. at p. 3.




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                 11.     Pursuant to the Order Scheduling Final Hearing to Consider Injunctive

Relief [Docket No. 33], the Court held a final hearing to consider the injunctive relief

sought by the Trustee on June 10, 2021. Later that day, the Court entered the Final Order

Granting Injunctive Relief [Docket No. 62] and required all parties in possession of

records concerning the Debtor’s affairs to maintain, and not alter or destroy, those

records subject only to such custodians’ turnover obligations pursuant to a subpoena or

a further order of this Court.

III.    The Trustee’s Attempts to Obtain Discovery from the Debtor’s Sole
        Managing Member

                 12.     On May 28, 2021, the Trustee filed the Application for an Order (A)

Designating Mitchell H. Kossoff as the Responsible Officer of the Debtor and (B) Compelling

Him to (1) Produce Information Requested by the Chapter 7 Trustee; (2) Appear for

Examinations Under Oath at the Bankruptcy Code Section 341 Meeting of Creditors; and (3)

Otherwise Cooperate with the Chapter 7 Trustee [Docket No. 36].

                 13.     On June 25, 2021, the Court entered the Order Designating Mitchell

H. Kossoff as the Responsible Officer of the Debtor [Docket No. 93], which provides that

“Kossoff is designated as the person responsible for performing the Debtor’s duties in

this case . . . .”

                 14.     On August 5, 2021, the Court entered the Order Compelling Mitchell

H. Kossoff to (1) Produce Information and Documents Required by the Chapter 7 Trustee; (2)

Appear for Examination at Section 341 Meetings of Creditors; and (3) Otherwise Cooperate

with the Chapter 7 Trustee [Docket No. 137] (the “Order to Compel”). Among other

things, the Order to Compel required Kossoff to produce the Debtor’s Schedules within

fourteen days or file a written report with the Court explaining the reason for such

failure. As of the date hereof, Kossoff has failed to comply with the Order to Compel.



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               15.   On August 18, 2021, Kossoff and the Debtor sought to commence

an appeal of the Order to Compel in the District Court for the Southern District of New

York (the “District Court”), which matter bears case number 21-cv-07122 [Docket No.

144].

               16.   That same day, Kossoff and the Debtor filed a Motion for Leave to

Appeal [Docket No. 145], seeking to appeal the Order to Compel. Kossoff also filed the

Notice of Filing of Report Pursuant to August 5th Order [Docket No. 146], which concerned

Kossoff’s failure to comply with the Order to Compel and requested that the appeal be

resolved before Kossoff is compelled to comply with the Order to Compel.

               17.   The following day, on August 19, 2021, Kossoff’s criminal counsel

filed the Debtor’s Motion for Limited Stay Pending Appeal of the August 5, 2021 Order

Holding the Fifth Amendment Privilege Against Self Incrimination Inapplicable to Debtor and

Compelling Mitchell Kossoff to Create Documents, to Appear at Examination at the Creditor

Committee Hearing, and to Produce Documents and Other Information [Docket No. 147],

seeking to stay the Order to Compel pending the appeal (the “Bankruptcy Court Stay

Motion”).

               18.   This Court conducted a hearing to consider the Bankruptcy Court

Stay Motion on September 14, 2021.

               19.   On September 23, 2021, the Court entered an order denying the

Bankruptcy Court Stay Motion [Docket No. 178], which became effective on

September 27, 2021 at 5:00 p.m.

               20.   The following day, on September 24, 2021, Kossoff’s criminal

counsel filed in the District Court a Notice of Motion for Limited Stay and an

accompanying attorney affirmation [District Court Docket No. 13], and a Memorandum

of Law in Support of Motion for Limited Stay Pending Leave to Appeal the Bankruptcy Court’s


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August 5th Order Compelling Mitchell H. Kossoff to Testify at a Creditors’ Committee Meeting,

Prepare Schedules and Produce Documents [District Court Docket No. 14]. Due to a

docketing error, the Notice of Motion and the accompanying affirmation were refiled

on September 29, 2021 (the “District Court Stay Motion”) [District Court Docket Nos. 15

and 16].

               21.     On September 30, 2021, the District Court entered an order denying

the District Court Stay Motion and the Motion for Leave to Appeal on the merits [District

Court Docket No. 17].

IV.    The Trustee’s Subpoena

               22.     Because Kossoff has failed to fully cooperate with the Trustee to

date, third-party document production is essential to the Trustee’s investigation of the

Debtor’s affairs and the identification of property that may be administered. See Berger

Decl. at ¶ 6. To date, the Trustee has served dozens of subpoenas to individuals and

entities that are believed to have relevant information concerning the Debtor. See

Berger Decl. at ¶ 7.

               23.     The Trustee has been told that the District Attorney seized all of the

Debtor’s servers and most, if not all, of the Debtor’s internal accounting records. As a

result, the Trustee’s only source of financial information for tracing the Debtor’s receipts

and disbursements are the Debtor’s Bank Account records. See Gray Decl. at ¶ 7.

               24.     On June 3, 2021, as a result of Kossoff’s wholesale refusal to

cooperate with the Trustee’s investigation of the Debtor’s affairs, the Trustee served the

Subpoena upon JPMC because documents that have been recovered by the Trustee

indicated that JPMC was a financial institution through which the Debtor executed the

vast majority and millions of dollars of its financial transactions. See Berger Decl. Ex. 2,

Berger Decl. at ¶ 9. The deadline for the production of responsive documents in


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response to the Subpoena was set for June 10, 2021 (the “Production Deadline”). See

Berger Decl. Ex. 1; see also Berger Decl. at ¶ 9.

                25.     The Subpoena, issued pursuant to the Rule 2004 Order, sought the

following categories of information (collectively, the “Requests for Production”):1

                        •   All account statements and all other Documents concerning all

                            bank accounts, including, but not limited to, all operating,

                            payroll, tax, escrow and attorney IOLA accounts, maintained in

                            the name of the Debtor and/or Kossoff, either individually or

                            jointly with others at JPMC (the “Bank Accounts”) from April

                            13, 2015 through the present;

                        •   Copies of the front and back of all cancelled checks for any and

                            all Bank Accounts from April 13, 2015 through the present;

                        •   Copies of all wire transfer instructions, receipts and wire

                            transfer confirmations for the Bank Accounts from April 13,

                            2015 through the present;

                        •   Copies of all applications, loan agreements, security

                            agreements, and other Documents reflecting or otherwise

                            evidencing any relationship by/among the Debtor, Kossoff and

                            JPMC; and

                        •   Documents sufficient to disclose all of the online access

                            credentials for the Bank Accounts (the “Access Credentials”).

See Berger Decl. Ex. 1.

1
    Capitalized terms used but not defined in this paragraph shall have the meanings given to them in
    the Subpoena.




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               26.    The Subpoena defined “Documents,” in relevant part, to be

“synonymous in meaning and equal in scope to the usage of the term ‘documents or

electronically stored information’ in Federal Rule of Civil Procedure 34(a).” Berger

Decl. Ex. 1 at ¶ 9.

               27.    The Trustee received productions from JPMC on or about

June 25, 2021, September 1, 2021, and September 3, 2021 in response to the Subpoena

(the “JPMC Production”). See Berger Decl. at ¶ 10; Gray Decl. at ¶ 8. Included in those

productions are some check images, bank statements, and Excel files (the “Excel Files”)

containing data concerning transactions in the Bank Accounts. See Gray Decl. ¶ at 9.

               28.    However, JPMC failed to provide request-by-request responses to

the Subpoena and failed to provide a declaration pursuant to 28 U.S.C. § 1746, both of

which are required by the Court’s Rule 2004 Order. Berger Decl. at ¶ 10. JPMC’s

production of documents also omits documents and information, including its email

correspondence with the Debtor and the Access Credentials for online access to the

Bank Accounts. Id.; see also Berger Decl. Ex. 1 at Request Nos. 1, 4, and 5; Gray Decl. at

¶ 19.

               29.    Included in the JPMC Production was an Adobe PDF of 6,578 pages

containing scanned images of bank statements and checks written against the Bank

Accounts. This file contains scanned images only, and the file is not searchable. See

Gray Decl. at ¶ 10.

               30.    In the absence of check numbers and payee information, which

were required to have been produced pursuant to the Subpoena, identifying the

respective payee would require that the Trustees’ financial advisors and accountants

manually cross-reference the Excel File data against JPMC’s scanned bank statements to

identify each matching check number, and then cross-reference those check numbers


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against an unsearchable 6,578-page PDF containing scanned check images. Attempting

to advance the Trustee’s investigation of the Debtor’s financial affairs in this manner

would result in considerable delays, and significant added expense to the Estate. See

Gray Decl. at ¶ 13. Moreover, because proceeding in that manner using what JPMC has

produced to date would require significant manual, transaction-by-transaction review,

the margin for error is materially increased. Id.

                 31.        Furthermore, the Debtor’s IOLA account number ending 9936 so

far indicates that there were approximately $37 million in check disbursements during

the period spanning January of 2018 and March 2021, yet the JPMC Production omits

check images for this account. See Gray Decl. at ¶ 14. As such, the Trustees’ financial

advisors and accountants are unable to determine to whom those check payments were

made. Id.

The Excel Files

                 32.        The Excel Files omit check dates, check payee information, check

numbers, and running balances for the Bank Accounts. See Gray Decl. at ¶ 11.

                 33.        For example, the Excel Files include only the following information

for a particular check transaction:


            Transaction     Transaction
            Authorization   Authorization   Account      Transaction   C=Credit
Paid Date   Date            Time            Number       Type          D=Debits   Description     Amount

2015-04-
30          2015-04-30      11.59 PM        #####1975    Check         D                          $ -100000.00



See Gray Decl. at ¶ 12.

                 34.        The Excel Files also omit information related to the Debtor’s

deposits. Identifying the sources of funds deposited into the Bank Accounts requires



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access to detailed information comprising each particular deposit. Access to deposit

information would not only assist the Trustee in identifying the sources of funds but

would also facilitate the process of reconciling claims filed against the Estate. See Gray

Decl. at ¶ 15.

                 35.   The Excel Files also omit information identifying the sources of

funds transferred into the Bank Accounts from other JPMC accounts owned or

controlled by Kossoff or the Debtor. See Gray Decl. at ¶ 16.

Website Access

                 36.   The JPMC Production also omits the Access Credentials, without

which the Trustee is unable to utilize website access to the Bank Accounts. See Berger

Decl. at ¶ 11; Gray Decl. at ¶ 19.

                 37.   Web access to the Bank Accounts would enable the Trustee to set

parameters to query transaction data and retrieve the data and images needed to

investigate payments to and from the Bank Accounts. See Gray Decl. at ¶ 20. These

data queries could be downloaded into Excel for the Trustee’s detailed analysis. This

method of reviewing the Debtor’s data, which should have been available prior to the

Petition Date, would be far more efficient and reliable than the labor-intensive process

of trying to reconstruct the accounts from JPMC’s Production to date. Id.

                 38.   Website access to the Bank Accounts is needed for the Trustee to

identify payee and other information related to checks issued by the Debtor that have

been omitted from JPMC’s incomplete production. Moreover, online access to the Bank

Accounts will greatly assist and streamline the Trustee’s investigation at a much lower

cost than is being experienced absent JPMC’s compliance, and, upon information and

belief, at minimal cost, if at all, to JPMC. See Berger Decl. at ¶ 12; Gray Decl. at ¶ 22.




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All of this was explained to JPMC’s counsel during telephonic meet and confers

between the parties prior to the filing of the Motion. See Berger Decl. at ¶ 12.

               39.   Website access to the Bank Accounts will also provide the Trustee’s

professionals with information needed to trace the Debtor’s transactions and to identify

potential avoidable transfers. See Gray Decl. at ¶ 21.

               40.   On July 27, 2021, JPMC informed the Trustee that it was unable or

unwilling to provide the Access Credentials or website access to the Bank Accounts

because the Bank Accounts had been closed. See Berger Decl. at ¶ 14. JPMC has not,

however, explained why it is unable to disclose the Access Credentials, reopen the Bank

Accounts and/or provide website access to the Bank Accounts. Id.

               41.   Counsel for the Trustee has repeatedly requested electronic access.

However, without elaborating a justification, JPMC has refused to take steps to re-open

the Bank Accounts such that the Trustee can have electronic access. Counsel to the

Trustee has made several inquiries to JPMC regarding its refusal to provide the website

access of the Bank Accounts to the Trustee, but hasn’t received a reason why web access

to the Bank Accounts cannot be facilitated. See Berger Decl. at ¶ 15.

Additional Elements Missing from the JPMC Production

               42.   Other documents missing from the JPMC Production are identified

in the chart annexed to the Gray Declaration as Exhibit “1”. See Gray Decl. at ¶ 18;

Gray Decl. Ex. 1.



               43.   Consequently, JPMC failed to fully comply with the Subpoena on

or before the Production Deadline, and the resulting deficiency prejudices the Trustee

and the Estate. See Berger Decl. at ¶ 13; Gray Decl. at ¶ 17.




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               44.   By this Motion, the Trustee seeks an order compelling JPMC to

comply with its obligations under the Subpoena and Rule 2004 Order and to turnover

electronic access to the Bank Accounts.

                                  RELIEF REQUESTED

               45.   The Trustee seeks entry of the Proposed Order: (i) compelling

JPMC to comply with the Rule 2004 Order and the Subpoena by: (a) producing

documents and information sufficient to disclose all of the Access Credentials for the

Debtor’s Bank Accounts for which JPMC is or was the depository and (b) granting the

Trustee website access to the Bank Accounts, (c) producing to the Trustee all documents

and information that are responsive to the Subpoena not yet produced, (d) producing

to the Trustee request-by-request responses to the Subpoena as required by the

Rule 2004 Order, and (e) preparing a declaration pursuant to 28 U.S.C. § 1746 as

required by the Rule 2004 Order; and (ii) in the event that JPMC fails to fully comply

with the Proposed Order, authorizing the Trustee to submit a proposed order to show

cause scheduling a hearing to consider entry of a further order holding JPMC in civil

contempt and imposing coercive civil sanctions until full compliance with the Subpoena

has been made.

                                   BASIS FOR RELIEF

               46.   Among the Trustee’s duties is the duty to investigate the financial

affairs of the Debtor. 11 U.S.C. § 704(a)(4). In furtherance of this duty, the Court

entered the Rule 2004 Order to authorize the Trustee to issue subpoenas for, among

other things, the production of books, records, and documents. See Docket No. 27 (Rule

2004 Order) at 3.

               47.   By operation of the Rule 2004 Order and the Subpoena, JPMC has

an obligation to provide request-by-request responses to the Subpoena, a declaration


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pursuant to 28 U.S.C. § 1746, and responsive documents, including the Access

Credentials and website access to the Bank Accounts.2 JPMC, however, has refused to

turn over the Access Credentials to the Trustee and has refused to provide website

access to the Bank Accounts, and has not otherwise fully complied with the Subpoena.

Thus, the Trustee respectfully submits that the Court should enter the Proposed Order

because JPMC has failed to fully comply with the Rule 2004 Order and the Subpoena.

               48.     An order to compel compliance is necessary, because JPMC has

failed to comply with its obligations under this Court’s Rule 2004 Order, the Subpoena

issued pursuant thereto, and its turnover obligations under the Bankruptcy Code.




2
    JPMC has never sought relief from the Subpoena and its time to do so has long ago expired.




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I.        JPMC’s Failure to Comply

                   49.     With the Requests for Production contained in the Subpoena, the

Trustee sought, among other things: all account statements and all other Documents

concerning the Bank Accounts from April 13, 2015 through the present; copies of all

applications, loan agreements, security agreements, and other Documents reflecting or

otherwise evidencing any relationship by/among the Debtor, Mitchell H. Kossoff and

JPMC, and Documents sufficient to disclose all of the online Access Credentials for the

Bank Accounts. See Berger Decl. Ex. 1 at Request Nos. 1, 4, and 5. However, JPMC’s

production omitted such items as email communications and Access Credentials, and

JPMC has failed to explain why such compliance is not possible. See Berger Decl. at ¶¶

10, 14.

                   50.     Moreover, JPMC has failed to comply with the provisions of the

Rule 2004 Order that require that a subpoena recipient provide written responses and a

declaration concerning the production.3 See Berger Decl. at ¶ 10.

II.       An Order Compelling JPMC’s Compliance Is Appropriate Under the
          Circumstances

                   51.     This Court has the express authority to compel compliance with its

orders. In re River Ctr. Holdings, LLC, 394 B.R. 704, 711 (Bankr. S.D.N.Y. 2008) (“[S]ection


3
     Specifically, among other things, the Rule 2004 Order requires that the subpoena recipient provide:

                   (i) written responses to each of the requests contained in the subpoena;
                   and (ii) a written declaration pursuant to 28 U.S.C. § 1746, attesting
                   under the penalty of perjury that: (a) none of the Books and Records
                   have been altered, modified, deleted, or otherwise destroyed; and (b) the
                   responding party has made a diligent search and effort to locate and
                   produce the documents and information requested by the subpoena and
                   that the written response as to each individual request contained in the
                   subpoena is true and complete to the best of the responding party’s
                   knowledge and belief.

Docket No. 27 (Rule 2004 Order) at 3.




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105(a) plainly may be used ‘to enforce and implement’ earlier orders.”); see also NWL

Holdings, Inc. v. Eden Ctr., Inc. (In re Ames Dept. Stores, Inc.), 317 B.R. 260, 273-74 (Bankr.

S.D.N.Y. 2004) (recognizing that “it is manifestly proper . . . to invoke section 105(a) ‘to

enforce or implement’” earlier orders); U.S. Lines, Inc. v. GAC Marine Fuels, Ltd. (In re

McLean Indus.), 68 B.R. 690, 695 (Bankr. S.D.N.Y. 1986) (“The duty of any court to hear

and resolve legal disputes carries with it the power to enforce the order.”).

                52.      Further, Bankruptcy Rule 2004 provides a separate and

independent basis for compelling compliance. Bankruptcy Rule 2004 states that the

production of documents “may be compelled as provided in Rule 9016.” Bankruptcy

Rule 9016 provides that Federal Rule 45 applies in cases under the Bankruptcy Code.

                53.      Both section 105(a) of the Bankruptcy Code and Federal Rule 45

also provide independent bases for a finding of contempt and sanctions.

                54.      Pursuant to section 105(a) of the Bankruptcy Code, the Court has

the authority to hold a party in contempt, which “inherently include[s] the ability to

sanction a party.” In re Dickerson, No. 08-33071, 2009 WL 4666457, at *9 (Bankr.

N.D.N.Y. Dec. 8, 2009) (internal quotations omitted) (quoting Ameriquest Mortgage Co. v.

Nosek (In re Nosek), 544 F.3d 34, 43-44 (1st Cir. 2008)); see also Fatsis v. Braunstein (In re

Fatsis), 405 B.R. 1, 11 (B.A.P. 1st Cir. 2009) (upholding bankruptcy court’s imposition of

sanctions); In re Thompson, No. 06-32622, 2007 WL 2406886, at *2 (Bankr. N.D.N.Y. Aug.

21, 2007).4


4
    “Sanctions stem, in part, from a need to regulate [the] conduct” of persons before the court. Fatsis,
    405 B.R. at 10 (quoting Goya Foods, Inc. v. Wallack Mgmt. Co., 344 F.3d 16, 19 (1st Cir. 2003)). “Thus,
    setting the amount of an effective sanction may include punitive concerns as well as considerations
    of deterrence.” Fatsis, 405 B.R. at 10-11. “When fashioning a civil contempt sanction . . . [the] court
    ‘has broad discretion to design a remedy that will bring about compliance.’” In re Butler Innovative
    Solutions, Inc., No. 08-00065, 2008 WL 5076980, at *1 (Bankr. D. Dist. Col. Sept. 29, 2008) (citation
    omitted).




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               55.   Alternatively, Rule 45(g) of the Federal Rules of Civil Procedure

provides that the “court . . . may hold in contempt a person who, having been served,

fails without adequate excuse to obey the subpoena or an order related to it.” When

finding contempt, courts determine whether “the subpoena was clear and

unambiguous, there is a clear and convincing proof of non-compliance, the recipient did

not attempt to comply with reasonable diligence, and that the recipient is given the

notice and opportunity to be heard.” In re Parikh, 397 B.R. 518, 527 (Bankr. E.D.N.Y.

2008) (holding subpoenaed party in contempt for failing to comply with subpoena

issued pursuant to Bankruptcy Rule 2004); see also In re Corso, 328 B.R. 375, 385 (Bankr.

E.D.N.Y. 2005) (same); In re Consol. Meridian Funds, No. 10-17952, 2013 WL 1501636, at

*13-14 (Bankr. W.D. Wash. Apr. 5, 2013) (same).

               56.   In this case, the Court approved the issuance of the Subpoena and

retained jurisdiction for all matters regarding the implementation of the Rule 2004

Order. In addition, the terms of the Subpoena are clear and unambiguous and JPMC

has not, and cannot, advance any claim of ambiguity.

               57.   JPMC has failed to fully comply with the Subpoena, and it is now

time-barred from seeking relief from it and the Rule 2004 Order. By failing to comply

with the Subpoena, JPMC has knowingly defied the authority of this Court and its Rule

2004 Order. Moreover, JPMC’s unexplained failure and refusal to fully comply has and

continues to cause prejudice to the Trustee and the Debtor’s estate: its failure to comply

immeasurably slows and impedes the Trustee’s investigation of thousands of

transactions that the Debtor executed through the Bank Accounts, and causes material

increases to the costs of that investigation. Moreover, the information in JPMC’s

possession is needed to timely identify potential intermediate and subsequent

transferees.


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                58.     JPMC also has a statutory obligation to comply with the Rule 2004

Order and the Subpoena because the Bank Accounts, all of the Debtor’s rights

concerning the Bank Accounts, and all records concerning them constitute property of

the Debtor’s estate pursuant to Bankruptcy Code section 541. U.S. Bank Trust Nat’l

Ass’n v. Am. Airlines, Inc. (In re AMR Corp.), 485 B.R. 279, 294 (Bankr. S.D.N.Y.), aff'd, 730

F.3d 88 (2d Cir. 2013) (“Courts have consistently held that contract rights are property

of the estate, and that therefore those rights are protected by the automatic stay.”)

(quoting In re Enron Corp., 300 B.R. 201, 212 (Bankr. S.D.N.Y.2003)). Moreover, JPMC

has an obligation to turn over all materials and information concerning them pursuant

to Bankruptcy Code section 542(e), which provides:

                Subject to any applicable privilege, after notice and a
                hearing, the court may order an attorney, accountant, or
                other person that holds recorded information, including
                books, documents, records, and papers, relating to the
                debtor’s property or financial affairs, to turn over or disclose
                such recorded information to the trustee.

11 U.S.C. § 542(e).

                59.     A chapter 7 trustee steps into the shoes of the debtor once a

bankruptcy case is commenced. See, e.g., In re Rare Coin Galleries of Am., Inc., 862 F.2d

896, 901 (1st Cir. 1988); In re Cashco, Inc., 599 B.R. 138, 148 (Bankr. D.N.M. 2019); Haigler

v. Dozier (In re Dozier Fin., Inc.), No. 4:18-CV-1888-SAL-SVH, 2020 WL 1873993, at *2 n.3

(D.S.C. Feb. 3, 2020). Consequently, there can be no reasonable dispute concerning the

Trustee’s right to all means of access to the Bank Accounts that the Debtor had prior to

the Petition Date.5


5
    It appears that JPMC closed at least one of the Bank Accounts after the Petition Date, which would
    constitute a violation of the automatic stay contained in Bankruptcy Code section 362. See Berger
    Decl. at ¶ 14.




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               60.   In the event that JPMC fails to fully comply with the Proposed

Order, the Trustee requests that the Court permit the Trustee to submit a proposed

order to show cause seeking a further order holding JPMC in contempt and imposing

sanctions as “a remedial device intended to achieve full compliance with [the] court’s

order.” In re Butler, No. 08-00065, 2008 WL 5076980, at *1.

               61.   Based upon all of the foregoing, the Trustee respectfully requests

that the Court enter the Proposed Order compelling JPMC to comply with the Rule 2004

Order and the Subpoena.

                                         NOTICE

               62.   Notice of this Motion has been given to: (i) JPMC; (ii) the United

States Trustee; (iii) the Manhattan District Attorney’s Office; and (iv) all of the parties

that filed a notice of appearance pursuant to Rule 9010(b) in this case. Local Bankruptcy

Rule 9006-1(a) provides that, “[u]nless the Court orders otherwise, all [discovery-related

motions] shall be served at least seven (7) days before the return date.” Local Bankr. R.

9006-1(a) (emphasis added). The Trustee respectfully requests that the Court find that

such notice is sufficient and that no other or further notice of the relief requested herein

is necessary or appropriate.



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                                     CONCLUSION

               WHEREFORE, for the reasons set forth herein, the Trustee respectfully

requests that the Court enter the Proposed Order: (i) compelling JPMC to comply with

the Rule 2004 Order and the Subpoena by: (a) producing documents and information

sufficient to disclose all of the Access Credentials for the Debtor’s Bank Accounts for

which JPMC is or was the depository and (b) granting the Trustee website access to the

Bank Accounts, (c) producing to the Trustee all documents and information that are

responsive to the Subpoena not yet produced, (d) producing to the Trustee request-

by-request responses to the Subpoena as required by the Rule 2004 Order, and (e)

preparing a declaration pursuant to 28 U.S.C. § 1746 as required by the Rule 2004

Order; (ii) in the event that JPMC fails to fully comply with the Proposed Order,

authorizing the Trustee to submit a proposed order to show cause scheduling a hearing

to consider entry of a further order holding JPMC in civil contempt and imposing

coercive civil sanctions until full compliance with the Subpoena has been made, and (iii)

providing such other and further relief as this Court deems just and proper.

Dated: New York, New York
       October 7, 2021
                                          Respectfully submitted,

                                          ALBERT TOGUT, not individually but
                                          solely in his capacity as Chapter 7 Interim
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